Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 1 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 2 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 3 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 4 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 5 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 6 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 7 of 54
     Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 8 of 54




        This SA does not recognize or release any Bodily Injury Claims of any New
        Class Members.

5.      Definitions.
        For purposes of this SA, terms with initial capital letters have the meanings
        set forth below:
        (a)   Administrative    Costs   means    all   costs   associated   with   the
              implementation and administration of the notice, allocation and claims
              processes contemplated by this SA, including without limitation, court
              approved compensation and costs of special masters, and/or Claims
              Administrator, including but not limited to its vendors, experts and
              legal counsel, if any, costs of the Notice Program(s), costs of
              implementing and administering the New Class claims process, costs
              of establishing the Settlement Fund, costs of distributing Settlement
              Benefits, costs associated with the establishment and operation of the
              Settlement Fund, including but not limited to the escrow agent and/or
              trustee, any directed escrow agent and/or trustee, and any paying
              agent, and including all Taxes on monies held in the Settlement Fund,
              and all other costs and compensation associated with the
              implementation and administration of this SA. Administrative Costs
              do not include costs HESI incurs to analyze New Class Opt Out
              forms. HESI acknowledges that BP, DHEPDS Class Counsel and
              New Class Counsel have agreed on the proper determination of
              Administrative Costs as set out in the HESI Settlement Administrative
              Cost Addendum to HESI Settlement Agreement, included as
              Attachment E.
        (b)   Affiliate means, with respect to any Natural Person or Entity, any
              other Natural Person or Entity that, directly or indirectly, through one
              or more intermediaries, controls or is controlled by, or has the power
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 9 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 10 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 11 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 12 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 13 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 14 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 15 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 16 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 17 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 18 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 19 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 20 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 21 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 22 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 23 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 24 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 25 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 26 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 27 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 28 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 29 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 30 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 31 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 32 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 33 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 34 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 35 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 36 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 37 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 38 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 39 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 40 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 41 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 42 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 43 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 44 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 45 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 46 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 47 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 48 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 49 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 50 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 51 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 52 of 54
Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 53 of 54
 Case 2:10-md-02179-CJB-DPC Document 15322-1 Filed 09/04/15 Page 54 of 54




Attachment A:
     New Class Release of HESI
     Individual Release

Attachment B:
     Assigned Claims Release of HESI

Attachment C:
     HESI Release of BP

Attachment D:
     Map of Gulf Coast Areas
     Maps of Specified/Identified Gulf Waters

Attachment E:
     HESI Settlement Administrative Cost Addendum to HESI Settlement
     Agreement
